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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 25-80060-CIV-CANNON

  ROGELIO LUIS NORES,

         Plaintiff,
  v.

  GEOFF PAYNE,

        Defendant,
  ____________________________________/

                                    ORDER CLOSING CASE

         THIS CAUSE comes before the Court upon Plaintiff’s Notice of Voluntary Dismissal,

  filed on April 9, 2025 [ECF No. 16]. Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

  Procedure, the Notice of Voluntary Dismissal, filed by Plaintiff prior to any Defendant serving an

  answer or motion for summary judgment, dismisses the case. See Fed. R. Civ. P. 41(a)(1)(A)(i).

  Upon review, this case is DISMISSED WITHOUT PREJUDICE against Defendant, effective

  April 9, 2025, the date on which Plaintiff filed the Notice of Voluntary Dismissal [ECF No. 16].

         The Clerk of Court shall CLOSE this case.

         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 10th day of April 2025.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE


  cc:    counsel of record
